           Case 1:18-vv-01933-UNJ Document 79 Filed 02/03/23 Page 1 of 4




               In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                         Filed: January 13, 2023

* * * * * * *                   * *      * *
                                       * *
ROBERT GALANTE,                            *             UNPUBLISHED
                                           *
             Petitioner,                   *             No. 18-1933V
                                           *
v.                                         *             Special Master Gowen
                                           *
SECRETARY OF HEALTH                        *             Decision on Damages; Proffer;
AND HUMAN SERVICES,                        *             Intradermal Influenza (“flu”);
                                           *             Shoulder Pain and
             Respondent.                   *             Dysfunction.
* * * * * * * * * * * * *
Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for petitioner.
Ryan Daniel Pyles, U.S. Department of Justice, Washington, DC, for respondent.

                                        DECISION ON DAMAGES 1

        On December 18, 2018, Robert Galante (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program. 2 Petitioner alleges that as a result of
receiving an intradermal influenza (“flu”) vaccine on September 7, 2016, in his left arm he
suffered a shoulder injury related to vaccine administration (“SIRVA”) that was caused in fact by
the flu vaccination. Petition (ECF No. 1). On November 9, 2022, the undersigned issued a Ruling
on Entitlement, finding that petitioner is entitled to compensation. Ruling on Entitlement (ECF
No. 70).

       On January 12, 2023, respondent filed a Proffer of Award of Compensation, which
indicates petitioner’s agreement to compensation on the terms set forth therein. Proffer (ECF No.
75). The proffer is attached hereto as Appendix A and is incorporated into this decision as
though set forth in full.

1
 Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I intend to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. Before the opinion is
posted on the court’s website, each party has 14 days to file a motion requesting redaction “of any information
furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). An objecting party must provide the court with a proposed
redacted version of the opinion. Id. If neither party files a motion for redaction within 14 days, the opinion will be
posted on the court’s website without any changes. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-10 to 34 (2012)
(hereinafter “Vaccine Act” or “the Act”). Hereinafter, individual section references will be to 42 U.S.C. § 300aa of
the Act.
           Case 1:18-vv-01933-UNJ Document 79 Filed 02/03/23 Page 2 of 4




       Consistent with the terms stated in the attached Proffer, I hereby award the
following in compensation for all damages that would be available under 42 U.S.C. §
300aa-15(a):

        1) A lump sum payment of $55,000.00, representing compensation for pain and
           suffering, in the form of a check payable to petitioner, Robert Galante.

       The Clerk of the Court is directed to ENTER JUDGMENT in accordance with this
decision. 3

        IT IS SO ORDERED.

                                                                               s/Thomas L. Gowen
                                                                               Thomas L. Gowen
                                                                               Special Master




3
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).

                                                        2
          Case 1:18-vv-01933-UNJ Document 79 Filed 02/03/23 Page 3 of 4




                  THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


ROBERT GALANTE,

                       Petitioner,

v.                                                    No. 18-1933V
                                                      Special Master Thomas L. Gowen
SECRETARY OF HEALTH AND                               ECF
HUMAN SERVICES,

                       Respondent.


             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On December 18, 2018, Robert Galante (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34

(“Vaccine Act” or “Act”), alleging that he suffered “left shoulder injuries related to vaccine

administration.” See Petition at 1. In a November 9, 2022 Ruling on Entitlement, the Special

Master found petitioner entitled to compensation.1

       Respondent now proffers that petitioner be awarded a lump sum payment of $55,000.00,

in the form of a check payable to petitioner, representing all elements of compensation to which

petitioner is entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees. Petitioner is a competent

adult. Evidence of guardianship is not required in this case.2




1
  Respondent has no objection to the amount of the proffered award of damages set forth herein.
Assuming the Special Master issues a damages decision in conformity with this proffer,
respondent waives his right to seek review of such damages decision. However, respondent
reserves his right, pursuant to 42 U.S.C. § 300aa-12(e), to seek review of the Special Master’s
November 9, 2022 Ruling on Entitlement.
2
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future damages.
        Case 1:18-vv-01933-UNJ Document 79 Filed 02/03/23 Page 4 of 4




                                   Respectfully submitted,

                                   BRIAN M. BOYNTON
                                   Principal Deputy Assistant Attorney General

                                   C. SALVATORE D’ALESSIO
                                   Director
                                   Torts Branch, Civil Division

                                   HEATHER L. PEARLMAN
                                   Deputy Director
                                   Torts Branch, Civil Division

                                   ALEXIS B. BABCOCK
                                   Assistant Director
                                   Torts Branch, Civil Division

                                   s/ RYAN D. PYLES
                                   RYAN D. PYLES
                                   Senior Trial Attorney
                                   Torts Branch, Civil Division
                                   U.S. Department of Justice
                                   P.O. Box 146
                                   Benjamin Franklin Station
                                   Washington, D.C. 20044-0146
                                   Tel: (202) 616-9847
                                   ryan.pyles@usdoj.gov

DATED: January 12, 2023
